  Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 1 of 36 PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


 BENEFICIENT and BRAD HEPPNER

                Plaintiffs,                         Civil Action No. ___________

        v.                                          JURY TRIAL DEMANDED

 ALEXANDER GLADSTONE,

                Defendant.

                     COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiffs Beneficient and Brad Heppner, in support of their Complaint against Defendant

Alexander Gladstone, state the following:

                                  NATURE OF THE ACTION

       1.      This action is the result of a defamatory campaign by The Wall Street Journal

reporter Alexander Gladstone to damage and defame Plaintiffs Brad Heppner and Beneficient

through a series of deliberately sensationalized and irresponsible articles and tweets. Heppner and

Beneficient, the company he founded, are pioneers in the alternative asset space and, like all

entrepreneurs and enterprises that build an entirely new market segment from the ground up, have

done so through novel (and sometimes complex) transactions.              Plaintiffs, through their

representatives, have repeatedly explained these transactions and Beneficient’s business to

Gladstone over dozens of hours.

       2.      However, instead of reporting fairly on what he learned, Gladstone has purposefully

disregarded critical facts, distorted critical timelines, and cherry-picked the information he has

received to promote an overarching, pre-ordained conclusion: Brad Heppner, through his control



                                                1
   Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 2 of 36 PageID #: 2




of Beneficient and other companies, engineered self-serving transactions to enrich himself—and

maintain a so-called “lavish lifestyle”—at the expense of vulnerable and elderly “retail” investors.

That is false. Gladstone knows it is false. And Plaintiffs can prove it is false.

        3.       On July 29, 2022, Gladstone published an article in The Wall Street Journal (“The

Journal”) entitled, “An Asset-Management Merger Ended in Bankruptcy, While Its Architect Got

$174 Million” (the “Article”). Separately, Gladstone published a tweet promoting the Article. 1

Gladstone leads both the Article and the defamatory tweet with a picture of the supposed payoff

of the supposed scheme: an operating ranch in Anderson County, Texas.

        4.       In the Article, Gladstone asserts that this Ranch was paid for through a “transfer”

of $230 million from the now-bankrupt GWG to Beneficient, two companies that Gladstone

alleges Heppner controlled. Gladstone claims that the so-called “transfer” of funds from the GWG

transaction to Beneficient allowed Heppner to gain “access” to “private jets and other benefits.”

Gladstone further alleges that Heppner is misusing corporate funds for his personal gain and that

he has a history of taking other people’s money.                 The vehicle for such alleged corporate

misbehavior is Beneficient, which Gladstone paints as Heppner’s personal fiefdom. In other

words, Gladstone accuses Heppner and Beneficient of misusing corporate funds to enrich Heppner,

saddling elderly retail investors with billions in losses.

        5.       This is false and defamatory. To make Heppner and Beneficient look as though

they had engaged in self-dealing “transfers” of money from hapless retail investors to “fund his

lavish lifestyle,” Gladstone intentionally distorts the timeline of these events, knowingly

misrepresents facts, and deliberately omits critical details and context that contradict his




1
  A true and accurate copy Gladstone’s July 29, 2022 defamatory tweet promoting the Article is attached as Exhibit
A.



                                                        2
     Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 3 of 36 PageID #: 3




preconceived narrative. Neither Heppner nor Beneficient engaged in any such “transfer[]” of

money to the detriment of investors.

           6.       In actuality, and as explained below, GWG made successful investments in

Beneficient that, at the time of Gladstone’s Article and tweet, had made GWG (and its investors)

a significant positive return, contrary to Gladstone’s defamatory implications. Similarly, Heppner

and Beneficient have not used the transactions to allow Heppner to access a “lavish lifestyle,” such

as buying the Ranch or using private jets. Indeed, contrary to Gladstone’s insinuations, Heppner

is a successful businessman who purchased the Ranch almost twenty years ago—long before the

transactions involving Beneficient—and has owned and used private jets for many years. 2

           7.       Gladstone published these falsehoods with actual malice.                 Heppner’s and

Beneficient’s representatives repeatedly notified Gladstone of specific factual errors in the Article

both before and after its publication, yet Gladstone rejected this information and the proposed

corrections to serve his preconceived agenda of enticing readers with salacious half-truths,

misleading implications, and a preconceived narrative in which Heppner and Beneficient stole

from the elderly in order to buy a ranch and fly on private jets. Since publication, Gladstone has

continued his crusade against Beneficient and Heppner, republishing the false implications in

additional articles in The Wall Street Journal, including in a highly misleading and damaging

article on July 28, 2023.

           8.       The predictable outcome is that third parties have concluded that the falsehoods in

the Article and tweet are true, that Heppner is indeed a crook and a criminal, and that Beneficient

is a sham. Third parties have expressed these views publicly on social media.




2
    The Ranch, located in the Eastern District of Texas, was originally purchased in 2003.



                                                            3
  Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 4 of 36 PageID #: 4




        9.     Just as predictably, Heppner and Beneficient have suffered significant real-world

damage apart from the conclusions of those on the internet. As explained in full below, Beneficient

and Heppner (currently serving as Beneficient’s CEO) provide custodial and trust services and

unlock liquidity for high-net-worth individuals and institutional investors, a service that requires

the utmost trust of their clients and the confidence of many regulatory agencies. False allegations

that Beneficient is a dishonest enterprise run by a dishonest CEO therefore strike at the heart of

the business and Heppner’s livelihood. Beneficient’s and Heppner’s reputations in the eyes of

prospective investors and business partners have been seriously harmed by Gladstone’s false and

defamatory claims.

        10.    Heppner and Beneficient bring this suit to vindicate their rights under civil law, to

restore their reputations as upstanding providers of innovative alternative asset management

services, to restore Heppner’s reputation as an upstanding member of the business community, and

to establish Gladstone’s liability for the harm that his false and defamatory statements have caused

Plaintiffs.

        11.    Heppner and Beneficient seek an award of compensatory damages for reputational

and economic harm they have suffered, and, given the willful and malicious nature of Gladstone’s

conduct in knowingly publishing defamatory falsehoods about them, Plaintiffs seek an award of

punitive damages.

                                            PARTIES

        12.    Plaintiff Brad Heppner lives in Dallas Texas but spends a significant portion of his

time at the Bradley Oaks Ranch in Anderson County, Texas. Among other roles, Heppner is the

Founder, Chief Executive Officer and Chairman of the Board of Plaintiff Beneficient. Heppner is

a philanthropist and entrepreneur with over thirty years of experience in some of the world’s most

widely respected financial institutions.


                                                 4
  Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 5 of 36 PageID #: 5




       13.     Plaintiff Beneficient is a corporation incorporated under the laws of Nevada with

its primary place of business in Dallas, Texas. Beneficient is a pioneering alternative asset

company that provides regulated and examined private trust solutions and custodial management

for fiduciary financial transactions, and which focuses on unlocking liquidity for individuals and

businesses. Beneficient’s subsidiaries are regulated and examined by banking regulators, the SEC,

and FINRA, which monitor articles in The Journal reporting on regulated businesses such as

Beneficient.

       14.     Defendant Alexander Gladstone is a resident of, and is domiciled in, New York,

New York. Gladstone is a reporter for The Wall Street Journal, and covers financial distress,

volatility, credit defaults, and restructuring, among other topics.

                                 JURISDICTION AND VENUE

       15.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because the

parties are citizens of different states and the amount in controversy exceeds $75,000.

       16.     This Court has personal jurisdiction over Defendant Gladstone pursuant to Tex.

Civ. Prac. & Rem. Code § 17.042, which extends jurisdiction to the full extent possible under the

Due Process Clause of the United States Constitution, under subsection (2) because Defendant

injured Heppner and Beneficient and their reputations in Texas. Defendant published defamatory

statements about Heppner, Beneficient, and its operations to be viewed in Texas, and thus

committed a tort in the state of Texas.

       17.     This Court has personal jurisdiction over Defendant Gladstone because he

expressly aimed and purposefully directed his defamatory statements at Heppner and Beneficient,

a Texas resident and a corporation with its primary place of business in Texas, respectively,

knowing that the impact would be felt in Texas. Gladstone has traveled to Texas to interview

Heppner in person and, upon information and belief, also has traveled separately to the Bradley


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  Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 6 of 36 PageID #: 6




Oaks Ranch in Anderson County, Texas in connection with his reporting on Heppner and

Beneficient. Notably, the defamatory statements at issue in this action relate directly to the Bradley

Oaks Ranch in Texas, and a picture of the Ranch is featured prominently next to the headline of

Gladstone’s Article and in his tweet. By publishing his defamatory statements on The Journal’s

website, Gladstone knowingly and intentionally published defamatory statements to the public in

Texas. In addition, Gladstone published defamatory statements of and concerning Heppner, a

Texas resident; Beneficient, a company with its principal base of operations in Texas; the Bradley

Oaks Ranch, which is located in Texas; and Heppner’s and Beneficient’s activities in Texas, all

using information derived from Texas-based sources.

        18.     Venue in this district is proper pursuant to 28 U.S.C. § 1391(b) because a substantial

part of the events or omissions giving rise to this action occurred in this district, because Heppner

and Beneficient suffered economic and reputational harm in this district, because the defamatory

statements were published in this district, because a substantial part of property that is subject of

the action (the Bradley Oaks Ranch) is located in this district, and because Defendant is subject to

the Court’s personal jurisdiction in this district.

                                                FACTS

                  Brad Heppner Builds A Strong Reputation As A Leader In
                   The Financial Services And Alternative Asset Industries,
                        And As A Philanthropist And Entrepreneur.

        19.     Brad Heppner is a leader in the financial services industry, with more than 30 years

of leadership and entrepreneurial experience in finance and alternative asset management, where

he has founded more than ten companies.

        20.     Heppner earned a BBA, BBS, and BA from Southern Methodist University in

Dallas, Texas and a Master of Management from the Kellogg School at Northwestern University




                                                      6
  Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 7 of 36 PageID #: 7




in Evanston, Illinois. Heppner has held positions at the John D. and Catherine T. MacArthur

charitable foundation and Bain & Company.

       21.     Heppner has founded more than ten companies, including Constitution Private

Capital Company, L.L.C., Capital Analytics, and The Crossroads Group, L.P., the last of which he

sold to Lehman Brothers. Capital Analytics is now held by Mitsubishi Union Financial Group,

the subsidiary of one of the world’s largest banks located in Japan.

       22.     Heppner is a frequent author on the evolution of the financial services industry,

inventor of seven patent-pending technologies for the industry, trailblazer, and innovator in the

alternative asset sector of the financial services industry.

       23.     In addition to his leadership in the alternative asset sector, Heppner is also a

philanthropist who has donated his time and money to public service.

       24.     Heppner was a founder and former director of his Kansas hometown’s Community

Foundation, and currently serves on the advisory board of the Cox School of Business at Southern

Methodist University.

       25.     Heppner was behind the organization of the Kansas Economic Growth Trust and

founded the Beneficient Heartland Foundation, which in the last year have collectively generated

nearly $18 million in cash and assets for the benefit of Kansas-based colleges and universities and

small rural hometowns located in the principally agricultural counties of Kansas. These funds

have been dedicated toward economic development in struggling communities such as the

development and re-opening of community-based grocery stores.

                                     Beneficient Is A Pioneer
                                 In The Alternate Asset Industry

       26.     Heppner began building what is now known as Beneficient in 2003, which is today

focused on creating a more investor-friendly and regulated approach to alternative asset



                                                   7
  Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 8 of 36 PageID #: 8




supervision, management, and liquidity.       Heppner is the Founder, Chairman, and CEO of

Beneficient.

       27.     Beneficient’s business includes serving as a regulated and examined fiduciary and

trustee, providing custodial and trust services in fiduciary financial transactions, and unlocking

liquidity for high-net-worth and institutional owners of illiquid, alternative assets, such as

ownership in private equity companies.

       28.     The services Beneficient and Heppner provide are highly valuable to institutions

and individuals who own alternative assets because it is often difficult for those owners to access

such regulated fiduciary services and liquidity during lock-up periods or other contractual

restrictions. To address this issue, Beneficient offers a variety of services, including regulated and

examined services in fiduciary financial transactions for fiduciary and trustee oversight, trust and

fund administration, custody services, and insurance services. Beneficient primarily serves high-

net-worth individuals, smaller institutions, and asset managers.

       29.     For Beneficient to succeed, it is essential that both Heppner and Beneficient

maintain reputations of trustworthiness and fiduciary carefulness, as Beneficient engages in

complex financial transactions that often comprise a meaningful allocation of a high-net-worth

individual’s net worth. In fact, the company’s website is “Trustben.com.”

       30.     From its founding until 2017, Beneficient was part of a closely held, family-owned

company that owned or controlled Heppner’s family office and a variety of investment assets in

addition to the asset liquidity business. During that period, Beneficient owned investment assets

(including the Ranch) as well as the alternative asset-focused operating business.




                                                  8
  Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 9 of 36 PageID #: 9




       31.     However, as Beneficient grew and sought investment from large industry-

recognized institutional third parties, it became necessary to separate its Beneficient operations

from Heppner’s family office and the numerous other investment assets.

       32.     Beneficient’s transaction with third-party investors included the agreed-upon

separation of Beneficient’s operating business from its investment assets such as the Ranch and

Heppner’s family office. As a result, assets, operations, and investments unrelated to Beneficient’s

core business model, including the Ranch, were distributed to entities associated with Heppner,

but not to Heppner himself.

       33.     The separation of these assets was agreed to by large third-party institutional

investors in connection with Beneficient’s formative transaction in 2017 and were subsequently

reviewed by a special committee of Beneficient’s Board of Directors, who had their own outside

counsel, as well as Beneficient’s audit committee and audited by third-party auditors, including

the regional auditing firm of Whitley Penn as well as Deloitte, the nation’s largest accounting firm.

The third-party transactions that included the separation of the assets were also disclosed in audited

financial statements filed with Securities and Exchange Commission as early as 2018.

                 GWG Holdings Makes Successful Investment In Beneficient

       34.     GWG Holdings (“GWG”) is a publicly traded company based in Dallas, Texas,

whose historical business was primarily buying life insurance policies in the secondary market.

By doing so, it allowed thousands of holders of life insurance policies to avoid “surrendering” their

policies back to the issuer in exchange for a very small “surrender value.”

       35.     Between 2012 and 2021, GWG sold public debt securities, called “L Bonds,” to

raise capital to run its ongoing business and to purchase life insurance policies. GWG fully

disclosed the risks of buying L Bonds to investors, including explicitly stating that they were high

risk and that there was a chance that the investor could lose the entire principal.


                                                  9
 Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 10 of 36 PageID #: 10




       36.     In January 2018, GWG decided to invest in Beneficient for several reasons,

including to diversify its business. This investment decision was fully disclosed and was made by

an independent board of directors of GWG that evaluated the decision beforehand.

       37.     GWG’s business, including its sale of L Bonds, existed for more than five years

before Heppner was introduced to GWG in 2017. Heppner, Beneficient, its Board of Directors

and all affiliates had no prior knowledge of GWG, its founders, Board of Directors or management

prior to the months leading up to GWG’s decision to invest in Beneficient.

       38.     GWG has invested approximately $230 million of cash in Beneficient net of cash

realizations and distributions to GWG. At the time of Gladstone’s Article and tweet, the GWG

investment in Beneficient was substantially more than the amount invested. In other words, the

GWG investment in Beneficient was highly successful.

       39.     In April 2019, Heppner joined GWG’s board as chairman, which is one board seat

on a multi-member board. Heppner never made any investment in GWG, and at no point in time

did Beneficient or Heppner ever control GWG or own or control a majority of GWG’s equity.

       40.     Following the appointment of Beneficient representatives to the board of GWG,

special governance provisions were enacted to ensure that there was independent review,

excluding Heppner and members of Beneficient’s board and management teams, of any investment

transactions that might occur between GWG and Beneficient.

       41.     In December 2019, GWG acquired the non-transferable contractual right to appoint

the majority of the Board of Directors of Beneficient.

       42.     From December 2019 to December 2021, Beneficient was controlled by GWG and

a consolidated operating subsidiary of GWG. GWG was not controlled by Beneficient or Heppner

during this time and has never been controlled by either of them.




                                                10
 Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 11 of 36 PageID #: 11




        43.     Special committees of GWG that Heppner was not a member of decided to make

additional investments in Beneficient between the end of 2019 and early 2021 amounting to the

net cash amount of $230 million. GWG’s investment in Beneficient, at the time of Gladstone’s

Article and tweet, was worth substantially more than the principal invested.

        44.     Despite its successful investments in Beneficient, and due to other issues primarily

related to the historical life insurance business and bond issuance program, GWG filed for chapter

11 bankruptcy in April 2022, after Heppner and other members of Beneficient’s Board of Directors

had departed the GWG board to address concerns raised by state officials assisting in the chartering

of certain of Beneficient’s regulated business lines.

                  Gladstone Contacts Heppner and Beneficient Regarding A
                            Proposed Wall Street Journal Article

        45.     On July 22, 2022, just 7 days before The Journal ultimately published the Article

about Plaintiffs that is the subject of this action, Gladstone contacted Heppner’s and Beneficient’s

representatives, asking that his message be directed to Heppner, a Texas resident.

        46.     In this message, Gladstone included a list of supposed “facts” about Heppner and

Beneficient that he had “determined,” and stated that he was giving them an opportunity “to

comment or provide insight[].” Gladstone suggested they contact him if there was anything

“factually incorrect,” or if they wished to provide “context.”

        47.     Gladstone’s so-called “facts” included defamatory falsehoods and false

implications that Beneficient’s and Heppner’s representatives tried hard to educate Gladstone to

correct, to no avail.

        48.     For example, Gladstone had already fixated on the “expensive” so-called “lifestyle”

that Heppner supposedly leads—and that Beneficient allegedly wrongfully enabled—as a focal

point of the story, including the Ranch.



                                                 11
 Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 12 of 36 PageID #: 12




         49.      Despite the fact that many of those falsehoods were specifically disproven by

Heppner’s and Beneficient’s representatives before publication, Gladstone persisted in publishing

these false claims. Similarly, Beneficient and its representatives have continued to point out

specific defamatory falsehoods in the Article after it was published, but Gladstone and those at the

Wall Street Journal have instead doubled down, defending the story and refusing to alter or retract

it.

         50.      Gladstone’s unwillingness to deviate from those falsehoods when they were

pointed out as untrue demonstrate that he had a false, preconceived narrative that he wished to

present about Heppner and Beneficient from the outset, and that he had no interest in reporting

facts.

               Heppner, Beneficient, And Their Representatives Inform Gladstone Of
                        Serious Errors In The Article Prior To Publication

         51.      The same day, shortly after receiving Gladstone’s email with his list of defamatory

falsehoods about Heppner and Beneficient, a representative of Plaintiffs notified Gladstone that

his email contained items “portrayed without context,” and that “some of the insinuated

conclusions are not only misleading but materially false. There are also numerous factual

inaccuracies throughout.”

         52.      The representative further advised Gladstone that “it appears your source may have

given you an internal document that is either is not genuine, incomplete or has otherwise been

altered to omit key details and/or other information.” The source of the information correcting

Mr. Gladstone was Heppner, who is based in Texas.

         53.      Despite receiving these communications from the representative, Gladstone

responded on July 22, 2023 by doubling down on the false “facts” that he had listed about Heppner

and Beneficient in his first email, and purporting to detail how he had arrived at some of the figures



                                                  12
    Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 13 of 36 PageID #: 13




he had previously mentioned. Gladstone then reiterated that “if Heppner believes that anything is

inaccurate, he is free to call me,” despite the fact that Gladstone had already been informed that

much of the information he presented was inaccurate or misleading.

        54.      On July 23, 2022, Plaintiffs’ representative wrote again to Gladstone, informing

him that he was missing “a number of key facts that would provide the proper context.” 3 The

email went on to provide Gladstone with some of those facts, including that Heppner “has also

voluntarily taken $234 million of complete waivers of cash and $26 million deferrals of cash owed

to him from the combined companies over the prior three years.”

        55.      Plaintiffs’ representative explained that this key context demonstrated that “to say

that [Heppner] was funding his lifestyle through L bond proceeds” he received from Beneficient

“is patently false.” Critically, Plaintiffs’ representative also specifically stated that “the ranch you

mention was purchased in 2003, 16 years before the formative transaction with GWG[].”

        56.      As also noted in July 23 email, most of the information that Plaintiffs’

representative provided to Gladstone was “a matter of public record,” and that “to the extent that

[the] narrative is being informed by a source, it is apparent that the source is selectively providing

[Gladstone] information based on some personal motivation to do [Heppner] and Ben[eficient]

harm versus a vested interest in complete and accurate reporting of the facts.”

        57.      On July 25, 2023, Plaintiffs’ representative again emailed Gladstone and provided

him with a detailed chart providing corrections and context to Gladstone’s defamatory allegations.




3
 A true and accurate copy of the July 23, 2022 email from Heppner’s representative to Gladstone is attached as
Exhibit B.



                                                        13
    Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 14 of 36 PageID #: 14




He also advised Gladstone that his “story is focused on a limited number of cash flows that advance

your narrative, rather than all cash flows that paint the full picture.” 4

         58.      As just one example, this July 25, 2023 chart explained that Gladstone’s claim that

technology assets sold to Beneficient were “over a decade old, and were soon written off,” was

misleading because those assets “are currently in use and still part of Ben[eficient]’s internal IT

stack and infrastructure.” In other words, the technology assets that would later become part of

Gladstone’s defamatory reporting were still in use and still valuable and were written off only for

accounting purposes.

         59.      Plaintiffs’ representative also expressed his disappointment that Gladstone had

“denied [a] request for more time to respond in good faith to your questions,” despite the fact that

Gladstone was writing about “highly technical material relating to complex transactions that took

place many years ago,” which would require “dig[ging] through historic documents and

assembl[ing] several people to get accurate and complete answers,” and despite the fact that “there

is no competition on this story, and no news peg.”

         60.      On July 26, 2022, Gladstone followed up by arguing against the additional facts

and context that he had been provided by email—rather than acknowledging the facts.

         61.      On July 27, 2022, Plaintiffs’ representative sent Gladstone yet another detailed

chart that contained necessary context and material facts for Gladstone’s reporting. This email

explained that Heppner and Beneficient “continue to maintain that your narrative lacks critical

details and insinuates false conclusions.” 5




4
 A true and accurate copy of the July 25, 2022 email from Plaintiffs’ representative to Gladstone, including the
chart refuting the false claims in Gladstone’s outreach, is attached as Exhibit C.
5
 A true and accurate copy of the July 27, 2022 email from Plaintiffs’ representative to Gladstone, including the
chart refuting the false claims in Gladstone’s outreach, is attached as Exhibit D.



                                                         14
    Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 15 of 36 PageID #: 15




         62.      This second chart likewise refuted several misleading and out-of-context

statements offered by Gladstone.

         63.      For example, the July 27, 2022 chart explained that, contrary to Gladstone’s

assertion that Beneficient had “take[n]” “$230 million from GWG,” GWG’s independent board

had invested that money into Beneficient to gain exposure to a diversified pool of assets, and to

simply state that Beneficient had “taken” those funds (which implies an exchange for no value)

was misleading—particularly given that the then-current value of the investment was greater than

the initial $230 million.

         64.      On July 28, 2022, Heppner’s and Beneficient’s representative sent a third chart to

Gladstone, which explained, critically, that Gladstone’s characterization of the interactions

between GWG and Beneficient—and the accompanying investment in Beneficient’s business—as

“Heppner’s takeover” of GWG was “blatantly false.” 6

         65.      This is because, as explained in the July 28, 2022 chart, 1) GWG had decided to

invest in Beneficient as part of a larger strategy to diversify before Heppner became chairman of

GWG’s board, 2) special committees of independent directors (which excluded Heppner)

approved the investments in Beneficient, meaning Heppner never had control or approval rights

over those transactions, and 3) another entity (Paul Capital and its designees), not Heppner, had

control of Beneficient, and it was the board, not Heppner, that determined who would be appointed

to GWG’s board—this was not a decision made by Heppner.

         66.      On July 28, 2022, Plaintiffs’ representative sent another email to Gladstone,

explaining that “no money has gone to Heppner nor his immediate or extended family members.




6
 A true and accurate copy of the July 28, 2022 email from Plaintiffs’ representative to Gladstone, including the
chart refuting the false claims in Gladstone’s outreach, is attached as Exhibit E.



                                                         15
    Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 16 of 36 PageID #: 16




It has gone to affiliated and related entities and has been disclosed as such.” Again, the source of

this information (and all the information in the correspondence above) was Heppner, who was

based in Texas.

                           Gladstone Knowingly Disregards The Facts
                          And Publishes A False And Defamatory Article

        67.     On July 29, 2022, despite knowing that the article contained false and defamatory

statements and implications, especially in light of the communications he had exchanged with

Plaintiffs’ representative, Gladstone published an article in The Journal titled, “An Asset-

Management Merger Ended in Bankruptcy, While Its Architect Got $174 Million” (the “Article”). 7

        68.     The Article uses a combination of outright falsehoods, half-truths, and juxtaposed

facts to create a misleading, false, and defamatory impression about Heppner, Beneficient, and its

activities in Texas: namely, that they improperly gained control of money from others, including

from “elderly and retired” “retail investors,” using Heppner’s position at multiple companies and

improperly used those funds to personally enrich Heppner and enable his supposedly “lavish”

lifestyle, including his purchase of the Ranch and the use of private jets.

        69.     Gladstone begins the Article by falsely stating that Heppner became GWG’s

Chairman by “promis[ing] to reinvigorate the company.” This is false because no such promise

was made.




7
 Alexander Gladstone, An Asset-Management Merger Ended in Bankruptcy, While Its Architect Got $174 Million,
The Wall Street Journal (July 29, 2022), https://www.wsj.com/articles/an-asset-management-merger-ended-in-
bankruptcy-while-its-architect-got-174-million-11659103557.



                                                     16
 Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 17 of 36 PageID #: 17




       70.     Gladstone juxtaposes this supposed “promise” in the next paragraph with the word

“instead,” followed by the allegation that Heppner “collected . . . $174 million in cash . . . as a

result of the takeover of GWG that he engineered” before it collapsed.

       71.     The clear juxtaposition between the word “promise” and the word “instead” implies

that Heppner broke the (non-existent) promise to reinvigorate the company. According to the

Article, the result of Heppner’s actions was that he “le[ft] thousands of individual investors” owing

more than a billion dollars.

       72.     Gladstone continues his defamatory insinuations in the next paragraph.




       73.     This paragraph asserts that it was Heppner’s “strategy” once “gain[ing] effective

control of GWG in 2019” to “ramp up” bonds sales to elderly and retired individual investors, and

then to orchestrate a “transfer[]” of $230 million to Beneficient.

       74.     Again, these statements are false and designed to give a false impression. As stated

before, no corporate action of GWG was “Heppner’s strategy” because he was only one board




                                                 17
 Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 18 of 36 PageID #: 18




member of GWG and not a member of GWG’s management. Each portion of the misleading

impression is detailed below.

       75.     So-called “control.” The allegations that Heppner “engineered a takeover” of

GWG (from the second paragraph) and that he “gained effective control” of GWG (from the third)

are each false. At no point did Heppner ever control GWG or own or control a majority of GWG’s

equity. Heppner did not begin serving on GWG’s board until April 2019, and he never had any

more voting rights as compared to any other director. Indeed, he held fewer voting rights than

other directors who served on the GWG’s special committees, as it relates to the determination of

whether GWG ever invested any cash into Beneficient.

       76.     These false statements are designed to give the impression that Heppner was pulling

the strings of GWG while it “transferred” money to Beneficient, and that Beneficient was merely

a vehicle for Heppner’s self-enrichment.

       77.     These false implications are consistent with the overall gist of the Article, which is

that Beneficient improperly obtained funds from GWG that it then wrongfully distributed to

Heppner to enable his self-enrichment scheme and his “lavish” lifestyle, all at the expense of

“elderly and retired” retail investors.

       78.     “Transfer” of funds. Similarly, Gladstone’s intentional use of the word “transfer”

when referring to money flowing to Beneficient from GWG is critical and misleading, as the use

of the word “transfer” implies that Beneficient improperly obtained GWG’s money as the result

of an improper or illegitimate transaction orchestrated by Heppner and executed by Beneficient.

       79.     In actuality, GWG invested in Beneficient as part of a publicly disclosed business

strategy, and GWG’s investment in Beneficient, at the time of Gladstone’s Article and tweet, was

worth substantially more than the principal invested.




                                                18
 Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 19 of 36 PageID #: 19




       80.     But the Article’s reference to a “transfer,” used in conjunction with 1) the

references to Heppner’s “takeover” and his “effective control” of GWG; 2) the use of money from

“elderly and retired” individual investors; and 3) the references to bankruptcy in the previous

paragraph, all suggest that Heppner and Beneficient improperly used the money of elderly and

retired retail investors to enrich Heppner, to the detriment of those investors.

       81.     This highly misleading description was written with actual malice.             When

Gladstone asserted pre-publication that Beneficient “need[ed] to take that $230 million from

GWG[,]” he was explicitly contradicted by Plaintiffs’ representatives and warned the description

was factually inaccurate—instead, the transaction described was an investment for value—and

warned that the assertion that Beneficient “took” money from GWG supported a false narrative.

       82.     Only two days later, and with full knowledge of the falsity of the assertion,

Gladstone published in the Article that GWG “transferred” $230 million to Beneficient, a

description virtually identical to his previously debunked position. Despite knowing the truth,

Gladstone purposefully stuck with his false description because accurately describing the facts

would not fit within his preconceived narrative and desire to give a misleading and false impression

about Heppner and Beneficient.

       83.     Ranch-Related Falsehoods. Gladstone’s next paragraph explicitly links the so-

called “transfer” to Beneficient with alleged personal benefits for Heppner; specifically, that these

funds supposedly paid for his nearly 1,500-acre Ranch in Texas and “provid[ed] [Heppner] access

to private jets among other benefits.”




                                                 19
 Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 20 of 36 PageID #: 20




       84.     These statements are intentionally misleading and add to the misleading and false

nature of the story because they omit critical details necessary to place the statements in context.

       85.     The Article implies that the Ranch was paid for with the $230 million GWG

investment (that Gladstone insisted on calling a “transfer”) and that, therefore, Heppner, aided by

Beneficient, bought the Ranch with unsuspecting retirees’ hard-earned money.

       86.     In reality, the Ranch was purchased in 2003, approximately 15 years prior to any

investment by GWG in Beneficient. Gladstone was explicitly informed of the large gap in time

between the GWG transaction and purchase of the Ranch pre-publication, and intentionally chose

to persist with the highly misleading description.

       87.     Additionally, the Ranch was not on Beneficient’s balance sheet when GWG

invested in Beneficient, having been separated over a year before and publicly disclosed with the

SEC in audited financial statements and their related notes, as audited by both Whitley Penn and

Deloitte.

       88.     Therefore, the Article’s implication that the Ranch was purchased or funded with

money from retail investors “transferred” from GWG to Beneficient is false and defamatory.

       89.     The Article makes other misleading statements about the Ranch to falsely portray

Heppner and Beneficient as “fund[ing]” Heppner’s supposed “lavish lifestyle” with the money of

elderly and retired investors: Gladstone falsely implies that Heppner and Beneficient have been

misusing the corporate funds of Beneficient and GWG to Heppner’s personal benefit to pay for

the Ranch.

       90.     First, the Article claims that “Beneficient took out $20.2 million in additional debt

that it used to purchase a technology company owned by Heppner . . . [while] the technology assets

were more than a decade old and were soon written off.”




                                                 20
 Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 21 of 36 PageID #: 21




       91.     Second, the Article claims that Beneficient “distributed to Heppner net assets of

$59.1 million related to certain ‘ranch and ranch-related business activities,’ and later listed them

on Beneficient’s income statement as discontinued operations.”

       92.     Each of the statements, made in close succession to each other, imply that Heppner

and Beneficient, consistent with the defamatory overall gist of the Article, have repeatedly abused

corporate funds for Heppner’s benefit, first by having Beneficient purchase a worthless technology

company from Heppner for $20.2 million, and then by having Heppner take from Beneficient

$59.1 million of soon-to-be-discontinued Ranch assets.

       93.     These statements are false and leave a false impression. This is because, contrary

to the implication that they are worthless, those technology assets are in fact the foundation for the

software developed and used by Beneficient to this day for many aspects of Beneficient’s ongoing

operations, and therefore have considerable value; they were “written off” only for accounting

purposes because they were not valuable in terms of a third-party sale.

       94.     These assets and the related dollar amount were negotiated with large institutional

third-party investors represented by the largest U.S.-based law firms and then subsequently audited

to the contract agreements—the opposite of insider transactions.

       95.     Similarly, the “distribution” that Beneficient made of the Ranch-related assets was

in the context of the same third-party investment where the third party knew about—and indeed

insisted on—the separation of the Ranch assets along with Heppner’s family office and related

investment assets from the ongoing operations of Beneficient.

       96.     Therefore, contrary to the implications of the Article, neither transaction was the

product of any wrongdoing by Heppner or Beneficient.




                                                 21
 Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 22 of 36 PageID #: 22




       97.     Compensation-related falsehoods. The Article also makes misleading statements

about payments Beneficient made to entities related to Heppner: the Article alleges that

“Beneficient has also made recurring payments to an entity that Heppner controls [Bradley Capital

LLC] . . . including for reimbursement for private travel including the family members of

designated executives . . . for both business and private use,” and that “the money was used to pay

for Heppner and his family and associates to fly in private jets, including trips to Southern

California.”

       98.     These statements are intended to further the story’s misleading theme that Heppner

and Beneficient’s misuse these corporate funds to enable Heppner’s supposed “lavish lifestyle.”

Reporting only facts (or partial facts) consistent with this theme was Gladstone’s intention all

along, as his first written fact check contained references to Heppner’s so-called “lifestyle” that

demonstrate he had already concluded Beneficient and Heppner were the wrongdoers.

       99.     These statements are misleading because they omit facts necessary to understand

them in their proper context; specifically, that Beneficient made the payments to Bradley Capital

pursuant to six-year-old contracts (that predate any involvement by GWG by years) that were

created as a substitute for Heppner’s salary and other payments.

       100.    It is false and defamatory to imply that Heppner and Beneficient used these

payments as an improper conduit to enrich Heppner or that those payments have anything to do

with GWG.

                        Gladstone Publishes A Defamatory Tweet
                   Promoting The July 29, 2022 Wall Street Journal Article




                                                22
    Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 23 of 36 PageID #: 23




             101.   On July 29, 2022, the same day he published the Article in The Journal, Gladstone

tweeted the following misleading and defamatory statement: 8




             102.   As stated, the tweet, read either alone or in conjunction with the Article, gives the

false and misleading impression that Heppner and Beneficient improperly and/or dishonestly used

money from “elderly and retired” “retail investors” to “fund [Heppner’s] lavish lifestyle,” leaving

those investors with “up to $1.3 billion in losses.”

             103.   This was a false statement of fact designed to give a false impression. The phrase

“fund his lavish lifestyle” is especially defamatory, because it is commonly understood in context




8
    Ex. A.



                                                     23
    Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 24 of 36 PageID #: 24




to imply that Heppner and Beneficient are committing wrongdoing for the self-enrichment of

Heppner.

           104.     Gladstone’s Twitter audience—and others in the community—have taken

Gladstone’s allegations at face value and now believe that Heppner and Beneficient acted

improperly.

           105.     To name just a few examples, one person on Twitter, upon reading the falsehoods

contained in the Article and Gladstone’s tweet concluded, in a clear reference to Heppner and

Beneficient, that “a man with a briefcase can steal more than a man with a gun.” 9 The same

user explicitly tied the Article to corporate malfeasance, stating “I’ve been trading corporates

for 30 years and I have seen a lot, but I can’t recall a story with so much f***ery baked into

it as this one.” 10

           106.     Another prominent Twitter account with more than 30,000 followers republished

another tweet from Gladstone promoting the Article 11 and summarized his conclusion that “Texas

CEO [Heppner] siphons millions from company to pay for his ranch.” 12

           107.     Others on social media piled on with “likes” and their own replies, including that

“the mafia leaves less of a paper trail.” 13 There are many other similar sentiments.



9
 The Kingfish (@daKingfish_), Twitter (July 29, 2022),
https://twitter.com/daKingfish_/status/1553056815574724609.
10
     The actual tweet used an expletive.
11
   In addition to Exhibit A, Gladstone published a tweet at 10:25 am on July 29, 2023. The comments referenced in
paragraphs 105–107 were in response to this 10:25 am tweet, which also linked to the Article and contained
language substantially similar to Exhibit A. A true and accurate copy of Gladstone’s July 29, 2023, 10:25 am tweet
is attached as Exhibit F.
12
   Mr. Skilling (@mr_skilling), Twitter (July 29, 2022),
https://twitter.com/mr_skilling/status/1553173613896941568. This tweet has since been deleted but a copy has
been saved.
13
  Up and to the Right (@upandtotheright5), Twitter (July 29, 2022),
https://twitter.com/upandtotherigh5/status/1553184018765533185. This tweet was in response to a substantially-
similar tweet from Gladstone that Gladstone has since deleted.



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 Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 25 of 36 PageID #: 25




       108.    Indeed, these are the natural and predictable responses to Gladstone’s tweet and

Article, which are designed to cause readers to believe that Heppner and Beneficient steal from

the elderly to “fund [Heppner’s] lavish lifestyle.”

       109.    As a direct result, Heppner and Beneficient has suffered severe reputational damage

from these falsehoods.

       110.    To avoid further harm and repair Heppner’s and Beneficient’s reputations,

Plaintiffs’ representatives have continued to provide Gladstone with information refuting and

correcting Gladstone’s claims, but Gladstone has persistently and continuously refused to correct

or retract the Article or remove the defamatory tweet.

                       Heppner and Beneficient Suffer Significant Harm
                           Due To Gladstone’s False Accusations

       111.    Unsurprisingly, Gladstone’s false claims have been extremely damaging to

Heppner’s and Beneficient’s reputations and business.

       112.    As Gladstone specifically intended, his false accusations harmed Heppner’s and

Beneficient’s reputations with potential investors and business partners, clients, the business

community, and the general public.

       113.    As one example, Beneficient, through the work of Heppner and others, has actively

sought investments from third parties. One group of investors was interested in a potential

investment in Beneficient but declined, and when so doing, cited the so-called “burn” from the

“July article” as a reason. The failure to secure investments that Beneficient otherwise would have

secured but for the defamatory statements has cost Beneficient millions of dollars in lost

opportunity costs, as well as significant lost time and out of pocket costs. It is also illustrative of

the harm that the Article has done to Plaintiffs’ reputations. Other investors have similarly

specifically referenced the Article as a reason they would not invest in Beneficient.



                                                  25
 Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 26 of 36 PageID #: 26




       114.      A second example occurred when a prominent Texas bank was preparing to give

Beneficient a line of credit that was critically important for Beneficient’s ongoing operations.

During the approval process, the Article was mentioned as a factor in the relevant credit committee

subjecting the transaction to additional scrutiny, the bank’s chief credit officer requiring the

president of the bank to personally approve the transaction, and the application eventually being

rejected. Because Beneficient failed to receive the line of credit due to the defamatory Article, it

has had to furlough staff and has suffered other damage.

       115.      Beneficient has also suffered significant out of pocket costs spent on public

relations efforts and similar services due to the defamatory Article.

       116.      Furthermore, Heppner’s ability to be elected as a director of the board or into a

leadership position for other public companies, particularly in finance companies, has been

impaired.

       117.      Gladstone’s false and defamatory statements have also harmed Heppner’s and

Beneficient’s other existing commercial relationships, have harmed their business standing, and

have impaired their ability to enter into future commercial relationships.

       118.      Gladstone’s false and defamatory statements have also impaired Heppner’s ability

to attract co-investors to invest in his various ventures, depriving Heppner of business

opportunities.

       119.      In addition to the reputational harm and detrimental impact on Heppner’s and

Beneficient’s business and reputations, Plaintiffs have been damaged by having to expend

resources to respond to these defamatory statements.

       120.      Gladstone’s actions since the publication of the Article and the associated tweet

have likewise demonstrated that he is engaged in a campaign to defame Heppner and Beneficient.




                                                26
 Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 27 of 36 PageID #: 27




          121.   Accordingly, Plaintiffs have been forced to bring this suit to vindicate their rights

and set the record straight.

      COUNT ONEDEFAMATION PER SE BY IMPLICATION FOR OVERALL
                MEANING (GIST) OF JULY 29, 2022 TWEET

          122.   Plaintiffs repeat and re-allege each of the foregoing paragraphs as if set forth fully

herein.

          123.   On July 29, 2022, Alexander Gladstone tweeted to his more than 900 followers a

tweet regarding Plaintiffs. (Ex. A.) The tweet reflected in Exhibit A states that Heppner “used

money from retail investors to help fund his lavish lifestyle. Those investors, many of them elderly

and retired, are now facing up to $1.3 billion in losses.” The broadcast of the tweet constitutes

publication to third parties, as the entire Twitter community (and the wider public, including those

without Twitter accounts) is able to read it. The tweet in full is as follows:




          124.   The statements are statements of fact of and concerning Heppner and Beneficient.


                                                  27
 Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 28 of 36 PageID #: 28




        125.     The implication (or gist) of the tweet, read as a whole, is that Heppner and

Beneficient engineered a sham transaction between GWG and Beneficient that allowed Heppner

to buy the Ranch and use private jets with these wrongfully obtained corporate funds—all at the

expense of elderly and retired investors who now face $1.3 billion in losses.

        126.     The tweet is reasonably understood by an objectively reasonable reader as having

the proposed meaning in the prior paragraph. This is because it is commonly understood that those

who take the money of elderly and retired persons to “fund [a] lavish lifestyle” are at the least

dishonest, and are often con men, fraudsters or criminals. In fact, the phrase “fund a lavish

lifestyle” is often included in news stories and/or criminal indictments relating to fraud. 14

        127.     The tweet contains ample evidence that Gladstone intended the defamatory

inference. Gladstone chose to link together intentionally sensational language including, in short

succession, (a) a reference to elderly and retired individuals; (b) who were now facing up to $1.3

billion in losses; and that (c) Beneficient provided this money to Heppner to “use[]” their money

to “fund his lavish lifestyle,” precisely to convey a defamatory inference. Gladstone was making

a defamatory accusation himself, not merely reporting on the accusations of others.

        128.     Furthermore, the tweet does not clearly disclose the factual bases for the

accusations it impliedly asserts; instead, it misrepresents facts that, if disclosed in the publication,




14
  See, e.g., Influencer Accused of Using Fraud to Fund Lavish Lifestyle, NBC10 Boston (May 12, 2021),
https://www.nbcboston.com/news/local/instagram-influencer-who-stole-mass-residents-identity-pleads-guilty-to-
1m-covid-relief-fraud/2989110/ (news report alleging that influencer applied for $900,000 in fraudulent loans to
“fund lavish lifestyle”); Carol Robinson, Vestavia Hills man must pay $12 million, serve 15 years in father and son
fraud that funded lavish lifestyle, Advance Local (May 26, 2022), https://www.al.com/news/2022/05/vestavia-hills-
man-must-pay-12-million-serve-15-years-in-father-and-son-fraud-that-funded-lavish-lifestyle.html (news report on
criminal who stole $12 million and was sentenced to 15 years in prison for fraud that “funded lavish lifestyle”);
Elizabeth Rosner, NY mother and daughter scammed $850K in credit card con to fund lavish lifestyle: indictment,
NT Post (Aug. 22, 2022), https://nypost.com/2022/08/29/ny-mother-and-daughter-ran-credit-card-charge-scam-to-
fund-lavish-lifestyle-indictment/ (reporting on indictment alleging credit card con “to fund lavish lifestyle”).



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 Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 29 of 36 PageID #: 29




would have disproven the defamatory implication. Indeed, the true facts were explained to

Gladstone by Plaintiffs’ representative before publication, yet Gladstone chose to ignore the truth.

        129.      The statements in the tweet are defamatory as they tend to injure Heppner’s and

Beneficient’s reputations, lower them in the estimation of their community and deter third persons

from associating or dealing with them, expose them to public hatred, contempt, ridicule, and

financial injury, and impeach their honesty, integrity, virtue, and reputations.

        130.      These statements in the tweet are defamatory per se because they allege that

Heppner and Beneficient are dishonest in their business dealings, engaged in sham transactions to

enrich Heppner, and/or committed crimes, which injure Heppner and Beneficient in their trade and

profession.

        131.      The defamatory statements in the tweet were made with actual malice regarding the

truth of the statements. In fact, Plaintiffs’ representative repeatedly communicated with Gladstone

in order to attempt to correct known misstatements in the underlying Article, providing Gladstone

with ample amounts of missing facts and context, but those attempted corrections were ignored

and/or rejected by Gladstone.

        132.      Third parties to whom the defamatory material was published understood the tweet

as asserting that Heppner and Beneficient had committed wrongdoing. On the internet, responses

to Gladstone’s falsehoods about Beneficient and Heppner contained in the tweet include, but are

not limited to:

        •     “a man with a briefcase can steal more than a man with a gun.” 15




15
   The Kingfish (@daKingfish_), Twitter (July 29, 2022),
https://twitter.com/daKingfish_/status/1553056815574724609.



                                                     29
 Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 30 of 36 PageID #: 30




          •   “Texas CEO [Heppner] siphons millions from company to pay for his ranch.” 16

          •   “the mafia leaves less of a paper trail.” 17

          133.    Heppner and Beneficient have also suffered real-world damages due to the tweet,

as explained in full in paragraphs 111–121. In particular, the tweet has adversely affected

Heppner’s and Beneficient’s ability to conduct business and otherwise damaged them as stated

above.

          134.    In view of the foregoing, Heppner and Beneficient are entitled to actual, presumed,

and punitive damages in an amount to be determined at trial.

      COUNT TWODEFAMATION PER SE BY IMPLICATION FOR OVERALL
     MEANING (GIST) OF THE JULY 29, 2022 WALL STREET JOURNAL ARTICLE

          135.    Plaintiffs repeat and re-allege each of the foregoing paragraphs as if set forth fully

herein.

          136.    On July 29, 2022, Gladstone published The Journal article entitled, “An Asset-

Management Merger Ended in Bankruptcy, While Its Architect Got $174 Million.” The statements

in the Article are statements of fact of and concerning Heppner and Beneficient.

          137.    The implication (or gist) of the Article, read as a whole, is that Heppner and

Beneficient engineered a sham transaction between GWG and Beneficient that allowed Heppner

to buy the Ranch and use private jets with these wrongfully obtained corporate funds—all at the

expense of elderly and retired investors who now face $1.3 billion in losses. This was a false

statement of fact by implication.




16
   Mr. Skilling (@mr_skilling), Twitter (July 29, 2022),
https://twitter.com/mr_skilling/status/1553173613896941568. This tweet has since been deleted but a copy has
been saved.
17
   Up and to the Right (@upandtotheright5), Twitter (July 29, 2022),
https://twitter.com/upandtotherigh5/status/1553184018765533185.



                                                        30
 Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 31 of 36 PageID #: 31




       138.    The Article can be reasonably understood by an objectively reasonable reader as

having the proposed meaning in the prior paragraph. This is because, as explained in full above,

the Article selectively uses falsehoods, half-truths, and juxtaposes facts in misleading ways. For

example:

   •   The Article falsely claims that Heppner “promised to reinvigorate” GWG but “instead”
       “collected at least $174 million in cash . . . leaving individual investors ow[ing] $1.3
       billion[.]”;

   •   The Article falsely claims that Heppner and his associates “gained effective control of
       GWG” and then “transferred” $230 million to Beneficient; and

   •   The Article falsely implies that Heppner had Beneficient improperly pay entities linked to
       Heppner to allow Heppner to use those funds for his own person use, including by allowing
       Heppner, his family, and his associates to enjoy private jets and other lavish benefits.

       139.    The Article contains ample evidence that Gladstone intended the defamatory

inference by, among other things, juxtaposing facts out of chronological order, stating facts

without context, and by employing other techniques designed to give a false impression.

       140.    Furthermore, the Article does not clearly disclose the factual bases for the

accusations it impliedly asserts; instead, the Article misrepresents or omits facts that would have

disproven the defamatory implication. Indeed, many of the true facts were explained to Gladstone

by Plaintiffs’ representative before publication, yet Gladstone chose to ignore the truth.

       141.    The defamatory statements are not a recitation of other accusations about Heppner

and Beneficient, but accusations made entirely by Gladstone, despite his knowledge of facts to the

contrary of the implication that he is trying to make.

       142.    The defamatory statements were made with actual malice regarding the truth of the

statements. Plaintiffs’ representative repeatedly communicated with Gladstone in order to attempt

to correct known misstatements in the Article and provide the truth, but those attempted corrections

were ignored and/or rejected by Gladstone.



                                                 31
 Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 32 of 36 PageID #: 32




          143.   These statements are defamatory as they tend to injure Heppner’s and Beneficient’s

reputations, lower them in the estimation of the community and deter third persons from

associating or dealing with them, expose them to public hatred, contempt, ridicule, and financial

injury, and impeach their honesty, integrity, virtue, and reputations.

          144.   These statements are defamatory per se because they allege that Heppner and

Beneficient are dishonest, engaged in sham transactions to enrich Heppner, and/or have committed

crimes, which injure Beneficient and Heppner in their trade and profession.

          145.   Heppner and Beneficient have also suffered real-world damages due to the Article,

as explained in full in paragraphs 111–121. In particular, the Article has adversely affected

Heppner’s and Beneficient’s ability to conduct business.

          146.   In view of the foregoing, Heppner and Beneficient are entitled to actual, presumed,

and punitive damages in an amount to be determined at trial.

   COUNT THREEDEFAMATION PER SE BY IMPLICATION FOR SPECIFIC
  STATEMENTS WITHIN THE JULY 29, 2022 WALL STREET JOURNAL ARTICLE

          147.   Plaintiffs repeat and re-allege each of the foregoing paragraphs as if set forth fully

herein.

          148.   On July 29, 2022, Gladstone published an article in The Journal entitled, “An

Asset-Management Merger Ended in Bankruptcy, While Its Architect Got $174 Million.” The

statements in the Article are statements of fact of and concerning Heppner and Beneficient.

          149.   The Article has several specific defamatory statements that are of and concerning

Heppner and Beneficient, including but not limited to:

             •   “GWG also transferred $230 million to Beneficient Co. Group LP, a financial-
                 services startup founded and led by Heppner.”

             •   “Much of those capital contributions from GWG were then distributed to Heppner
                 and his affiliated business entities, helping him repay debt he had incurred to buy



                                                  32
 Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 33 of 36 PageID #: 33




               and develop a nearly 1,500-acre ranch in Texas, and providing him with access to
               private jets among other benefits[.]”

       150.    These statements were false and/or designed to create a false impression.

       151.    The first statement is false and defamatory because in the context of the Article, the

intentional use of the word “transfer” implies that Heppner and Beneficient improperly

orchestrated a sham payment from GWG that they then wrongfully allocated to enrich Heppner,

all to the detriment of “elderly and retired” investors. In actuality, the transaction described as a

“transfer” was an investment for value by GWG in Beneficient that at the time of Gladstone’s

Article and tweet, had substantially gained in value since it was made. Gladstone intentionally

chose the word “transfer” in order to make it appear that Heppner and Beneficient committed

wrongdoing in this transaction.

       152.    The second statement is false and defamatory because it suggests that Heppner and

Beneficient used the wrongfully obtained funds from the so-called “transfer” for two personal

benefits directed to Heppner: the purchase and development of the Ranch and access to private

jets. The words are carefully chosen to give the false impression that Beneficient, at Heppner’s

direction, transferred the funds to Heppner so he could use the money from the transaction to buy

and develop the Ranch and gain “access” to private jets, which are collectively referred to by

Gladstone by tweet as a “lavish lifestyle.” In fact, Heppner owned the Ranch for almost 20 years

before the relevant transaction. Similarly, Heppner did not “access” private jets because of GWG’s

investment in Beneficient; he has used private jets for decades, primarily for security reasons.

       153.    The Article contains ample evidence that Gladstone intended the defamatory

inference by, among other things, juxtaposing facts out of chronological order, stating facts

without context, and other techniques designed to give a false impression.




                                                 33
 Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 34 of 36 PageID #: 34




        154.    Each statement in the Article listed in paragraph 149 does not clearly disclose the

factual bases for the statement it impliedly asserts; instead, it misrepresents facts that, if included,

would have disproven the defamatory implication.

        155.    The defamatory statements are not a recitation of other accusations about Heppner

and Beneficient, but accusations made entirely by Gladstone, despite his knowledge of facts to the

contrary of the implications he is trying to make.

        156.    These statements can be reasonably understood by an objectively reasonable reader

as having the proposed meanings set forth above because, as explained in full above, the Article

selectively uses falsehoods, half-truths, and juxtaposes facts in misleading ways, and because

Gladstone was told by Plaintiffs’ representatives that The Journal’s readers would form this

understanding, which they did then form.

        157.    The defamatory statements were made with actual malice regarding the truth of the

statements. Plaintiffs’ representative repeatedly communicated with Gladstone to attempt to

correct known misstatements in the Article and provide true facts, but those attempted corrections

were ignored and/or rejected by Gladstone.

        158.    These statements are defamatory as they tend to injure Heppner’s and Beneficient’s

reputations, lower them in the estimation of the community and deter third persons from

associating or dealing with them, expose them to public hatred, contempt, ridicule, and financial

injury, and impeach their honesty, integrity, virtue, and reputations.

        159.    These statements are defamatory per se because they allege that Heppner and

Beneficient are dishonest, engaged in sham transactions to enrich their Heppner, and/or have

committed crimes, which injure Heppner and Beneficient in their trade and profession.




                                                  34
 Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 35 of 36 PageID #: 35




        160.    Heppner and Beneficient have also suffered real-world damages due to the Article,

as explained in full in paragraphs 111–121. In particular, the Article has adversely affected

Heppner’s and Beneficient’s ability to conduct business, obtain credit, and obtain third party

investment, and have caused significant out-of-pocket costs.

        161.    In view of the foregoing, Heppner and Beneficient are entitled to actual, presumed,

and punitive damages in an amount to be determined at trial.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully request that the Court enter an award in Plaintiff

Brad Heppner’s and Plaintiff Beneficient’s favor, and against Defendant Gladstone, as follows:

                (1) awarding Heppner and Beneficient compensatory damages in an amount to be
                    determined;

                (2) awarding Heppner and Beneficient punitive damages in an amount to be
                    determined;

                (3) awarding Heppner and Beneficient all expenses and costs, including attorneys’
                    fees; and

                (4) such other and further relief as the Court deems appropriate.

                                        JURY DEMAND

        Pursuant to Rule 38(B) of the Federal Rules of Civil Procedure, Plaintiffs request a trial

by jury on all triable issues.




                                                 35
 Case 6:23-cv-00376-JDK Document 1 Filed 07/28/23 Page 36 of 36 PageID #: 36




Dated: July 28, 2023                   Respectfully submitted,

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                                     36
